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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION
 MY HEALTH, INC.,                        §
                                         §
             Plaintiff,                  §
                                         §
      vs.                                §         Civil Action No. 2:14-cv-00652
                                         §                 LEAD CASE
 ALERE, INC.                             §
                                         §
             Defendant.                  §


 MY HEALTH, INC.,                                      §
                                                       §
                  Plaintiff,                           §
         vs.                                           §             Case No. 2:14-cv-00683
                                                       §
 LIFESCAN, INC.                                        §
                                                       §
                  Defendant.                           §

                               ORDER OF DISMISSAL WITH PREJUDICE

         Pursuant to Fed. R. Civ. P. 41, and as a result of an agreement reached between plaintiff My
 .Health, Inc. (“My Health”) and defendant LifeScan, Inc. (“LifeScan”), IT IS HEREBY ORDERED,

 ADJUDGED AND DECREED as follows:

         1.    This Court has personal jurisdiction over My Health and, for the purposes of this Order,

 LifeScan with respect to this action, and has jurisdiction over the subject matter of this action.

         2.    This action is hereby dismissed with prejudice on the basis of the settlement reached,

 pursuant to Fed. R. Civ. P. 41.

         3.    Each party shall bear its own costs and attorneys’ fees.

         4.    The Court shall retain jurisdiction over this matter to ensure that the terms and conditions

 of the parties’ settlement agreement are honored and enforced.
          SIGNED this 3rd day of January, 2012.
         SIGNED this 22nd day of May, 2015.




                                                            ____________________________________
                                                            ROY S. PAYNE
                                                            UNITED STATES MAGISTRATE JUDGE
